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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

JUSTIN DYE,

Plaintiff

. CIVIL ACTION

v. : FILE NO. l:lS-cv-OZ]ZZ-WSD
AMDOCS DEVELOPMENT : JURY TRIAL DEMANDED
CENTRE INDIA, LLP, and ‘
SAMRAT TAWARE,

Defendants

SECOND AMENDED COMPLAINT

NOW COl\/IES Plaintiff JUSTIN DYE and files this, his Second Amended

Cornplaint, in the above-styled action, showing the court as follows:

l.

Plaintiff Voluntarily subjects himself to the jurisdiction and Venue of this

court by filing suit in the above-styled forum. He brings this action in his

individual capacity.

2.

Defendant SAMRAT TAWARE resides outside the United States and is

believed to reside in the country of India. Defendant Taware resides at SIDIW of

EXH|B|T

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Mohanra, AddAIP-Lal<hevvadi, Malegaon BK. Tal-BARAMATI, Dist-Pune and
Will be served in strict accordance With The Hague Convention.
3.

Defendant AMDOCS DEVELOPMENT CENTRE INDIA, LLP is a foreign
corporation domiciled in the country of India and may be properly served vvith
process in strict accordance With The Hague Convention at its principal place of
business located at CyberCity ToWer 2, Magarpatta City, Hadapsar, Pune 411013,
India.

4.
This Court has subject matter jurisdiction over the matters at issue.
5 .
Defendants are subject to the jurisdiction of this court.
6.
Venue for this action is proper.
7.

At approximately l:OO pm on March 25, 2017, Plaintiff Justin Dye

(hereinafter “Plaintiff’) Was driving his 2009 Honda Accord southbound on

Georgia State Road 400.

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8.

At the same time, Defendant Samrat Taware (hereinafcer “Defendant
Taware”) was driving a F ord Fiesta rental car southbound on Georgia State Road
400.

9.

Defendant Taware, who was behind Plaintist vehicle, did not slow down

and struck Plaintiff’ s vehicle at a high rate of speed.
l().

Defendant Taware followed too closely.

ll.

Defendant Taware was negligent

12.

Defendant Taware’s negligence was the proximate cause of the collision

between Defendant Taware’s vehicle and Plaintiff` s vehicle.
13.

As a direct and proximate result of Defendant’s negligence, Plaintiff has

suffered bodily injury and has endured physical, mental and emotional pain and

suffering

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14.
Plaintiff will continue to experience physical, mental and emotional pain and
suffering in the future.
15.
As a direct and proximate result of Defendant’s negligence, Plaintiff has
incurred medical expenses and lost wages.
16.
As a direct and proximate result of Defendant’s negligence, Plaintiff will
incur future medical expenses and lost wages.
l7.
Plaintiff is entitled to an award of his past and future pain and suffering and
mental distress and his medical expenses and lost wages incurred as a result of

Defendant’ s negligence

18.
At the time of the collision with Plaintiff, Defendant Taware was acting in
the course and scope of his employment for Defendant Amdocs Development

Centre, LLP (hereafter “Defendant Amdocs”)

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l9.

Defendant Amdocs is responsible for the negligent actions and/or omissions

of Defendant Taware with regard to the collision described in this Second

Amended Complaint under the doctrines of agency and/or apparent agency,

respondeat superior, and/or vicarious liability.

WHEREFORE, Plaintiff prays for the following:

3.

That the Summons shall issue and that Defendants be served
with the Summons and a copy of this Second Amended
Complaint as provided by law;

That Plaintiff obtain judgment against Defendants for
compensatory damages, including, but not limited to, all
medical expenses, all lost income, and all past, present, and
future physical, mental and emotional pain and suffering;

That Plaintiff be granted a trial by jury as to all triable issues in
this cause; and

F or such other and hirther relief as this Court deems just and

equitable under all circumstances alleged and contained herein.

Respectfully submitted this 22“d day of October, 2018.

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/s/Matthew T. Wz`lson
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Georgia Bar No. 588219
Matthew T. Wilson
Georgia Bar No. 558420

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CERTIFICATE OF SERVICE

This is to certify that l have this day served the following counsel of record
with a true and correct copy of “PLAINTIFF’S SECOND AMENDED
COMPLAINT.” by depositing said copy in the United States Mail, with sufficient
postage affixed thereon, and properly addressed to the following:

Gene A. Maj or, Esq.
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This 22nd day of October, 2018.

/S/Matthew T. Wz`lson
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